Case 9:18-cv-80752-RS Document 59 Entered on FLSD Docket 01/25/2019 Page 1 of 7



                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

                                Case No. 18-cv-80752-BLOOM/Reinhart

 BRIAN ELFUS,

                  Plaintiff,

 v.

 IMPACT SPORTS BASKETBALL LLC,
 et. al.,

                  Defendants.                          /


                                                    ORDER

        THIS CAUSE is before the Court upon Third-Party Defendant Michael Siegel’s

 (“Siegel”) Motion to Dismiss Third-Party Complaint, ECF No. [56] (“Motion”). The Court has

 reviewed the Motion, Defendant/Third-Party Plaintiff Impact Sports Basketball LLC (“ISB”) and

 Defendant/Third-Party Plaintiff JS Sports Funding LLC (“JS”) (collectively, “Third-Party

 Plaintiffs”) Responses, ECF Nos. [57] and [58], and the record in this case.1 For the reasons set

 forth below, the Motion is denied.

        I. Background

        Plaintiff/Counter-Defendant Brian Elfus (“Elfus”) filed an Amended Complaint against

 Defendants ISB, JS, Impact – A Sports Management Company, and J&J Sports Agency MM

 LLC (collectively, “Defendants”) on August 22, 2018. ECF No. [35]. Elfus, a sports agent,

 asserts a breach of contract claim based on Defendants’ failure to pay amounts owed pursuant to

 an agreement between Elfus and ISB (the “ISB Agreement”). Id. at ¶¶ 11, 75-85.

        Third-Party Plaintiffs filed Answers to the Amended Complaint along with

        1
            Siegel did not file a reply, and the deadline to do so has passed.
Case 9:18-cv-80752-RS Document 59 Entered on FLSD Docket 01/25/2019 Page 2 of 7

                                                          Case No. 18-cv-80752-BLOOM/Reinhart

 Counterclaims and Third-Party Complaints against Elfus and Siegel. ECF Nos. [45] and [46].

 Third-Party Plaintiffs assert breach of contract claims against Elfus and Siegel for failure to

 make payments owed pursuant to the ISB Agreement. On October 28, 2018, Siegel filed the

 Motion, seeking to dismiss the Third-Party Complaints for lack of personal jurisdiction.

 Attached to the Motion, Siegel filed a Declaration detailing his limited connections to Florida.

 ECF No. [56-1] (“Siegel Decl.”).     In Response to the Motion, ISB submitted a Declaration of

 the founder and owner of ISB, Mitchell Frankel, concerning the formation of the ISB Agreement

 and Siegel’s and Elfus’s subsequent business conduct relating to Florida. ECF No. [58-1]

 (“Frankel Decl.”).

         Legal Standard

        “In a motion to dismiss for lack of personal jurisdiction, a court must accept the facts

 alleged in plaintiff’s complaint as true, to the extent that they are not contradicted by defendant’s

 affidavits.” Kim v. Keenan, 71 F. Supp. 2d 1228, 1231 (M.D. Fla. 1999) (citing Cable/Home

 Commc’n Corp. v. Network Productions, Inc., 902 F.2d 829, 855 (11th Cir. 1990)). “Once the

 plaintiff pleads sufficient material facts to form a basis for in personam jurisdiction, the burden

 shifts to the defendant to challenge plaintiff’s allegations by affidavits or other pleadings.”

 Carmouche v. Carnival Corp., 36 F. Supp. 3d 1335, 1388 (S.D. Fla. 2014), aff’d, sub nom,

 Carmouche v. Tamborlee Mgmt., Inc., 789 F.3d 1201 (11th Cir. June 15, 2015).                 “If the

 defendant provides sufficient evidence, ‘the burden shifts to the plaintiff to prove jurisdiction by

 affidavits, testimony or documents.’” MPS Entm’t, LLC v. Headrush Apparel, Inc., 2013 WL

 5446543, at *2 (S.D. Fla. Sept. 30, 2013) (quoting Thomas v. Brown, 504 Fed. App’x 845, 847

 (11th Cir. 2013)). Through this lens, the Court addresses the instant Motion.




                                                  2
Case 9:18-cv-80752-RS Document 59 Entered on FLSD Docket 01/25/2019 Page 3 of 7

                                                           Case No. 18-cv-80752-BLOOM/Reinhart

        II.   Discussion

                A. Personal Jurisdiction

        A federal court sitting in diversity must undertake a two-step inquiry to determine

 whether personal jurisdiction exists: first, it must determine whether the exercise of jurisdiction

 is appropriate under the state long-arm statute; and, second, it must ensure that jurisdiction does

 not violate the Due Process Clause of the Fourteenth Amendment to the United States

 Constitution. Horizon Aggressive Growth, L.P. v. Rothstein-Kass, P.A., 421 F.3d 1162, 1166

 (11th Cir. 2005); Two Worlds United v. Zylstra, 46 So.3d 1175, 1177 (Fla. 2d DCA 2010) (“In

 order to establish personal jurisdiction over a nonresident defendant, a plaintiff must satisfy a

 two-part test . . . whether the complaint alleges sufficient jurisdictional facts to satisfy Florida’s

 long-arm statute, section 48.193 . . . [and] whether it has been demonstrated that the defendant

 has had sufficient minimum contacts with Florida to satisfy due process requirements.”). “When

 a federal court uses a state long-arm statute, because the extent of the statute is governed by state

 law, the federal court is required to construe it as would the state’s supreme court.” Lockard v.

 Equifax, Inc., 163 F.3d 1259, 1265 (11th Cir. 1998).

                1. Florida Long-Arm Statute

        Florida’s long-arm statute, Florida Statute section 48.193, “addresses both specific and

 general jurisdiction.” Caiazzo v. Am. Royal Arts Corp., 73 So. 3d 245, 250 (Fla. 4th DCA 2011).

 General jurisdiction exists where the defendant engages in “substantial and not isolated activity”

 within Florida, “whether or not the claim arises from that activity.” Fla. Stat. § 48.193(2). This

 requires “continuous and systematic general business contact” with Florida. Woods v. Nova Cos.

 Belize Ltd., 739 So.2d 617, 620 (Fla. 4th DCA 1999). “The reach of this provision extends to the

 limits on personal jurisdiction imposed by the Due Process Clause of the Fourteenth


                                                   3
Case 9:18-cv-80752-RS Document 59 Entered on FLSD Docket 01/25/2019 Page 4 of 7

                                                         Case No. 18-cv-80752-BLOOM/Reinhart

 Amendment.” Fraser v. Smith, 594 F.3d 842, 846 (11th Cir. 2010) (citation omitted). Specific

 jurisdiction exists where the non-resident defendant engages in specific actions enumerated in

 Florida Statutes, section 48.193(1), which give rise to the stated cause of action.            See

 Helicopteros Nacionales de Colombia, S.A. v. Hall, 466 U.S. 408, 411 n. 8 (1984) (“It has been

 said that when a State exercises personal jurisdiction over a defendant in a suit arising out of or

 related to the defendant’s contacts with the forum, the State is exercising ‘specific jurisdiction’

 over the defendant.”). This list of actions includes, in pertinent part, “[b]reaching a contract in

 this state by failing to perform acts required by the contract to be performed in this state.” Fla.

 Stat. § 48.193(1)(a)(7).

        Courts have held that Florida’s long-arm statute is satisfied pursuant to Section

 48.193(1)(a)(7) where a non-resident defendant breaches a contractual requirement that payment

 be made in Florida. See, e.g., Aspsoft, Inc. v. WebClay, 983 So. 2d 761, 766 (Fla. 5th DCA

 2008); Future Tech. Today, Inc. v. OSF Healthcare Sys., 218 F.3d 1247, 1250 (11th Cir. 2000)

 (holding that defendant’s failure to pay plaintiff an amount due under contract satisfies Florida’s

 long-arm statute). Here, Third-Party Plaintiffs allege that Siegel failed to make payments owed

 to ISB under the ISB Agreement. ECF No. [45] at ¶¶ 9-10; ECF No. [46] at ¶¶ 32-37. ISB is a

 Florida Limited Liability Company.       Frankel Decl. at ¶ 2.      Moreover, JS has submitted

 unrebutted testimony that all amounts earned by Siegel under the ISB Agreement were routed

 through Florida and all payments made to Siegel as required by the ISB Agreement came from

 Florida. Frankel Decl. at ¶ 14.

        Third-Party Plaintiffs argue that Siegel’s failure to make payment in Florida owed under

 the ISB Agreement allows the Court to reach Siegel under the Florida long-arm statute. Siegel

 has not made any argument nor provided any case law to the contrary. The Court agrees with


                                                 4
Case 9:18-cv-80752-RS Document 59 Entered on FLSD Docket 01/25/2019 Page 5 of 7

                                                            Case No. 18-cv-80752-BLOOM/Reinhart

 Third-Party Plaintiffs, and finds that Florida’s long-arm statute is satisfied under Section

 48.193(1)(a)(7).

                2. Jurisdiction Comports with Constitutional Due Process

        To determine whether the exercise of specific jurisdiction affords due process, the Court

 applies a three-part test. See Louis Vuitton Malletier, S.A. v. Mosseri, 736 F.3d 1339, 1355 (11th

 Cir. 2013). First, the Court considers whether the plaintiff has established that its claims “arise

 out of or relate to” at least one of the defendants’ contacts with the forum. Id. (internal

 quotation marks omitted). Second, the Court asks whether the plaintiff has demonstrated that the

 defendants “purposefully availed” themselves of the privilege of conducting activities within the

 forum state. Id. (internal quotation marks omitted). If the plaintiff carries its burden of

 establishing the first two prongs, the Court next considers whether the defendant has “ma[de] a

 compelling case that the exercise of jurisdiction would violate traditional notions of fair play and

 substantial justice.” Id. (internal quotation marks omitted).

        Siegel argues that Third-Party Plaintiffs cannot establish his minimum contacts with this

 jurisdiction because he did not execute the ISB Agreement in Florida and an individual’s

 contract with a Florida corporation alone does not automatically establish sufficient minimum

 contacts with Florida. Additionally, Siegel points to his limited connection with Florida,

 specifically, that he lives in Pennsylvania, in the last eight years has travelled to Florida four

 times in connection with the ISB Agreement and twice for vacation, has conducted no other

 business in Florida, and does not own an office in Florida.

        Third-Party Plaintiffs counter that prior to and after executing the ISB Agreement, Siegel

 travelled to Florida to conduct business in connection with the ISB Agreement. Frankel Decl. at

 ¶¶ 9-11 Indeed, Mitchell Frankel met with Siegel in Florida on multiple occasions to address


                                                    5
Case 9:18-cv-80752-RS Document 59 Entered on FLSD Docket 01/25/2019 Page 6 of 7

                                                           Case No. 18-cv-80752-BLOOM/Reinhart

 business conducted pursuant to the ISB Agreement. Id. at ¶ 11. Also, Elfus, who was Siegel’s

 business partner at the time, travelled to Florida an additional 15 to 20 times in order to conduct

 business on behalf of himself and Siegel. Id. at ¶ 12. Additionally, Siegel communicated

 telephonically with persons associated with ISB dozens of times about the ISB agreement. Id. at

 ¶ 13.

         The Court finds that Siegel has sufficient contacts with Florida to support personal

 jurisdiction in this case. As Siegel admits in his own declaration:

         The first time I travelled to Florida was at the specific request of Mitchell Frankel,
         the President of ISB, to discuss the terms of the proposed ISB Agreement with
         representatives of ISB.

         The second and third times I traveled to Florida were at the specific request of
         Mitchell Frankel to discuss business strategies.

         The fourth time the travel to Florida was at the specific request of Mitchell
         Frankel to talk about clients.

 Siegel Decl. at ¶¶ 12-15. Siegel’s travel, meetings in, and phone calls to Florida in which he

 conducted business relating to the ISB Agreement clearly relate to the claims against Siegel for

 breaching that contract. Moreover, the connections between Siegel and Florida are not “random,

 fortuitous, or attenuated” contacts but are substantial activities which show that Siegel

 “purposefully directed his activities at residents of the forum, and the litigation results from

 alleged injuries that “arise out of or relate to” those activities.” Burger King Corp. v. Rudzewicz,

 471 U.S. 462, 475, 480 (1985) (internal quotations and citations omitted).

         The Court finds that the claims against Siegel “arise out of or relate to” Siegel’s contacts

 with Florida and that Siegel purposefully availed himself of the privilege of conducting activities

 in Florida. The Court does not reach this conclusion based solely on the fact that Siegel entered

 into a contract with a Florida corporation, as posited in Siegel’s Motion, but based on the entirety

 of his contacts with Florida relating to the ISB Agreement as described above. Additionally,
                                                   6
Case 9:18-cv-80752-RS Document 59 Entered on FLSD Docket 01/25/2019 Page 7 of 7

                                                         Case No. 18-cv-80752-BLOOM/Reinhart

 Siegel has made no showing that the exercise of jurisdiction would violate traditional notions of

 fair play and substantial justice.

         III. Conclusion

         Third-Party Plaintiffs have successfully alleged that the Court has personal jurisdiction

 over Siegel. Accordingly, it is ORDERED AND ADJUDGED that Siegel’s Motion to Dismiss,

 ECF No. [56], is DENIED. Siegel shall answer the Third-Party Complaints, ECF Nos. [45] and

 [46], by no later than February 4, 2019.

         DONE AND ORDERED in Chambers at Miami, Florida, this 24th day of January,

 2019.



                                                         _________________________________
                                                         BETH BLOOM
                                                         UNITED STATES DISTRICT JUDGE

 Copies to:

 Counsel of Record




                                                 7
